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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                    CASE NO: 0090 1:21CR00175-005
  v.
  ENRIQUE TARRIO,
         Defendant.
  _______________________________/
  DEFENDANT’S SENTENCING MEMORANDUM AND RESPONSE TO THE
 GOVERNMENT’S OBJECTIONS TO THE PRESENTENCE INVESTIGATION
                        REPORT (PSR)


       COMES NOW the Defendant, Enrique (“Henry”) Tarrio, by and through

undersigned counsel, moves this Honorable Court to consider the previously-filed

objections to the defendant’s presentence investigation report (PSR) by the defendant;

to overrule the government’s objections to the PSR; and to consider the statutory

sentencing factors pursuant to 18 U.S.C. § 3553(a), including the defendant’s lack of

participation in the events on January 6, 2023, and his personal characteristics. The

PSR was made available to the parties on July 26, 2023. The defendant’s objections

were filed under seal on August 9, 2023. The government filed its objections to the

PSR via a letter dated August 9, 2023.       Those objections will be addressed by the

defendant prior to delving into certain sentencing factors and his personal characteristics

which he would respectfully ask the Court to consider in order to arrive at a fair

punishment.


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                 Introduction including Brief Procedural History of the Case


        On June 6, 2022, a federal grand jury in the District of Columbia returned a ten-
count Third Superseding Indictment charging Ethan Nordean, a/k/a “Rufio Panman,”
Joseph Biggs, Zachary Rehl, Enrique Tarrio, a/k/a “Henry Tarrio,” and Dominic Pezzola,
a/k/a “Spaz,” “Spazzo”, and “Spazzolini,” with Seditious Conspiracy, in violation of 18
USC § 2384 (Count One); Conspiracy to Obstruct an Official Proceeding, in violation
of 18 USC § 1512(k) (Count Two); Obstruction of an Official Proceeding and Aiding
and Abetting, in violation of 18 USC §§ 1512(c)(2) and 2 (Count Three); Conspiracy to
Prevent an Officer from Discharging Any Duties, in violation of 18 USC § 372 (Count
Four); Obstruction of Law Enforcement During Civil Disorder and Aiding and
Abetting, in violation of 18 USC §§ 231(a)(3) and 2 (Count Five); Destruction of
Government Property and Aiding and Abetting, in violation of 18 USC §§ 1361 and 2
(Counts Six, a black fence and Seven, a Capitol window); Assaulting, Resisting, or
Impeding Certain Officers, in violation of 18 USC § 111(a) (Counts Eight and Nine); and
Robbery of Personal Property of the United States, in violation of 18 USC § 2112 (Count
Ten).


        The defendant was arrested on March 8, 2022, and has been in continuous custody
on these federal charges since that date.


        On May 4, 2023, the defendant was found guilty, by jury trial, as to Counts One,
Two, Three, Four, Five, and Six of the Third Superseding Indictment. He was acquitted
of Count Nine. The jury hung on Counts Seven and Eight.


        This Court is well aware of the general background of the people and their actions
that occurred in our nation’s Capitol on January 6, 202l. At the end of this month (August


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2023), Your Honor will begin handing down sentences for six members of the Proud Boys
group for their roles in the Jan. 6th insurrection, including five (all but Pezzola) convicted
of seditious conspiracy. Ethan Nordean, a president from Washington State on August
30th; Joseph Biggs, a leader from Volusia County, Florida on August 31st; Zachary Rehl,
a president from Philadelphia on August 31st; Charles Donohoe, a local leader in North
Carolina to be set; Dominic Pezzola, a leader on September 1st; and this defendant,
Enrique (whose true first name is Henry) Tarrio, the national chairman, will be sentenced
on the 30th of this month. The PSR has taken the position that each of Tarrio, Nordean
and Biggs had a leadership role. In sum, they all are assessed the same aggravating role
assessment and are basically viewed as being equally culpable with each other, at least by
the probation office.


               ADDITIONAL FACTUAL OBJECTION TO THE PSR

       As to the Identifying Data contained in Page 3 of the defendant’s PSR, he is
erroneously identified as “White.” The defendant is multiracial and is of Afro-Cuban
ancestry, so his race should be reported as “Black” on Page 3.

        RESPONSE TO THE GOVERNMENT’S OBJECTIONS TO THE PSR


 Government Suggests Terrorism Enhancement Should Apply


       By letter dated August 9, 2023, the government filed its response to the PSR. After
recommending an upward departure for “terrorism” pursuant to Application Note Four of
§ 3A1.4 of the guidelines, the government asserts that a 12-level increase (or minimum
offense level 32) in the offense level computation under §3A1.4 is mandatory and applies
to all five defendants because Count Six constitutes a “federal crime of terrorism” as that
term is defined under the Guidelines.




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       While the government does not dispute the guidelines calculations by the probation
officer as to each of Counts One through Five, it has requested the terrorism enhancement
be applied to Count Six since that count “constitutes a federal crime of terrorism” as that
term is defined under the guidelines. Count Six charges Tarrio with the destruction of
Government Property, a black fence, and Aiding and Abetting, in violation of 18 U.S.C.
§§ 1361 and 2. About 45 Capitol riot defendants are charged with this crime that is on
the terrorism list: destruction or “depredation” of federal property, which carries a
maximum 10-year prison term. Notably, the jury was undecided as to Count Seven, which
charged Tarrio with the same offense in connection with the smashing of a Capitol
window. (In a footnote within its objections, the government also suggests the terrorism
enhancement should apply to all the defendant’s counts of conviction.) Pursuant to §
3A1.4(a), if the offense is a felony that involved, or was intended to promote, a federal
crime of terrorism, a 12-level increase is recommended, unless the resulting offense level
is less than a level 32. In the latter case, the offense level simply should be increased to
32. For purposes of this suggested terrorism enhancement under § 3A1.4, a "federal crime
of terrorism" is defined in 18 U.S.C. § 2332b(g)(5).

       Under 2332b(g)(5) of Title 18 of the United States Code, a federal crime of
terrorism is defined as one that (A) is calculated to influence or affect the conduct of
government by intimidation or coercion, or to retaliate against government conduct; and
is one of the enumerated offenses set forth in section (B) of the aforementioned section
and statute. The range of crimes that can trigger this sentencing enhancement is sprawling. Under
current law, 57 offenses are on the list, including such crimes as hostage-taking, destroying an
aircraft, using fire or explosives to destroy a building and computer hacking that creates a public
health or safety threat or impacts national security systems. These enumerated offenses include
very extreme crimes involving biological and chemical weapons, explosives, arson,
nuclear and weapons of mass destruction threats and bombing of properties. While the
instant offenses are serious in nature, they are nowhere near and should not be grouped in
the same category or considered to be the same caliber as the heinous acts committed by
individuals such as Timothy James McVeigh (who perpetrated the 1995 Oklahoma City

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bombing that killed 168 people, 19 of whom were children, injured 680, and destroyed
one-third of the Alfred P. Murrah Federal Building) or Osama bin Laden (who engineered
a series of attacks in multiple countries that killed thousands of men, women, and
children). This federal sentencing guideline enhancement is really meant for those with
ties to foreign terrorist organizations such as ISIS and al-Qaeda, or to violent domestic
extremists like McVeigh or even Cesar Sayoc, who mailed 16 pipe bombs to members of
the U.S. Congress. Here, the government property “destroyed” was a part of a black fence
that was pulled down by others. How does this conduct, not even committed by Tarrio
personally, rise to the level of “terrorism” to support an enhancement that more than
doubles Tarrio’s prison sentence from 14 to 30 years? While the statute of conviction
may be an enumerated one (supporting the enhancement), common sense dictates this
does not result in a “sufficient, but not greater than necessary” sentence required by 18
U.S.C. § 3553(a).

       Invoking the terrorism enhancement typically adds about 15 years in prison to a
defendant’s recommended sentence, and also flips the person charged into the criminal-
history category used for serial offenders. In the case of Mr. Tarrio, his recommended
sentence would go from 14 years (168 months at the low end) to 30 years as suggested by
the government in its August 9th letter of objections to the PSR.

       The defendant does not need to remind the Court that this guideline enhancement
is not a statutory sentencing enhancement and therefore is not mandatory, but advisory.
In fact, the government has arbitrarily chosen to seek this enhancement only for certain
defendants involved in the infamous January 6th event, but has not even brought up the
guideline enhancement in other cases with much more violent offenders than this
defendant who stands before Your Honor.

       Notably, this same terrorist enhancement was not even applied to Dylann Roof,
who was convicted of massacring nine people attending bible study at a church in
Charleston. Nor was it applied in the federal case of James Fields, who was convicted of
using his motor vehicle to plow down and kill a Charlottesville demonstrator. Yet it seems


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the government wants to use this enhancement as a tool to punish Tarrio because he
exercised his right to go to trial, as opposed to other, violent defendants charged in the
January 6th event that did plead guilty. Tarrio was not even present at the scene in
Washington D.C.; he did not direct his fellow members of Proud Boys or anyone else to
assault people on the day in question or to destroy any government property.

       Notably, defendant Guy Wesley Reffitt, who went to trial and had been observed
on video bragging about and actually planning the riot on January 6th, was not given the
terrorism enhancement when sentenced by U.S. District Judge Dabney L. Friedrich. The
government said he "planned to overtake the government"; however, the Judge declined
to apply the enhancement with the explanation it would create a sentencing disparity with
other J6 defendants. Reffitt was armed at the U.S. Capitol on January 6, provoked the
boisterous crowd and led other rioters up a set of stairs outside the Capitol building.
Federal prosecutors asserted other rioters at the Capitol looked to Reffitt as their leader.
Reffitt even told his fellow militia members that he planned to drag US House of
Representatives Speaker Nancy Pelosi out of the Capitol building by her ankles, "with her
head hitting every step on the way down."; and threatened to shoot his own 18-year-old
son for being a traitor and reporting him to the FBI.       If Reffitt did not receive this
enhancement, why should Tarrio, who was not even at the scene directing anyone else,
nor did he participate in any violent acts on January 6.

       Or consider the case of David Judd. Amid the most extreme violence on January
6, 2021, David Judd launched a lit object — which appeared to be a firecracker — at a
tightly packed tunnel full of police and members of the mob, an effort to clear a path so
rioters could derail the transfer of power from Donald Trump to Joe Biden.              The
government argued in favor of the terrorism enhancement; however, the Court did not
apply it, presumably for Judd’s lack of preplanning.
       Consider Elmer Stewart Rhodes and Kelly Meggs of the Oath Keepers who received
an enhancement for “terrorism” but a fraction of the increase sought in the case of Tarrio.
According to the government, their conspiracy revolved around amassing an arsenal of



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firearms across the Potomac River. Rhodes and his co-conspirators accumulated firearms
and other weapons, and planned for their transport to the Capitol and the QRF staging
location just across the river.    According to the government, Meggs was wearing
paramilitary gear and led the infamous “stack” military formation (a tactic used by the
infantry) of Oath Keepers inside the Capitol on January 6. The formation is used in the
infantry to weave through crowds or when entering a room. The group places hands on the
back of the person in front of them in order to communicate effectively. Meggs, and others,
according to prosecutors, were part of a crowd that burst through the Capitol’s Rotunda
doors on Jan. 6. They are not alleged to have broken the doors themselves. The group was
wearing matching uniforms of “camouflaged combat attire” and had patches and other
insignia for the Oath Keepers. Videos and photos were widely circulated of the group
“aggressively approaching an entrance to the Capitol” in a stack formation. They were also
wearing helmets and reinforced vests.         Rhodes remained outside, directing and
coordinating activities. Rhodes and Meggs had their sentences enhanced (via an upward
departure) for domestic “terrorism;” Rhodes by six levels and Meggs by four levels.

       To avoid unneeded sentencing disparities among similarly situated defendants,
including but not limited to Reffitt, and to abide by the sentencing rules set forth in 18
U.S.C. § 3553(a)(6), the Court should avoid applying this enhancement in Tarrio’s case.



Government Disputes Criminal History Category and Erroneously Asserts Defendant
was on Federal Supervision when he Committed the Instant Offense


       The government asserts Mr. Tarrio’s criminal history calculation is incorrect. The
government asserts the defendant was on supervised release in the cases set forth in
paragraph 128 (2021 CF2 000105 and 2021 CMD 000106) when he committed the instant
offense. The government is wrong. As noted in paragraph 14 of the PSR, all acts in this
case took place from December 2020 to January 6, 2021. The criminal conduct charged in
Counts One, Two, and Four of the Third Superseding Indictment occurred from in and


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around December 2020 through in and around January 2021. The events forming the basis
of the remaining Counts (Three, Five and Six) occurred on January 6, 2021. Mr. Tarrio
pled guilty in those prior cases AFTER the instant offense, on August 24, 2021, and did
not start his term of federal supervision as to those two cases until January 14, 2022.
Therefore, he could not have been on federal supervision at the time he committed the
instant offense, which is required in order to apply two criminal history points under §
4A1.1(d).
       The government then suggests the defendant’s criminal history category be
increased to VI, based on the terrorism enhancement which was not applied in several
others who participated in the January 6 event.

       Under § 3A1.4(b), if applied, the terrorism enhancement that the government
believes applies would also increase the defendant’s criminal history category by several
levels, all the way to the highest category possible, a VI. The government is suggesting
the defendant be punished the same as violent career offenders, serial offenders and/or
offenders with very serious criminal histories, with many lengthy prior sentences of
imprisonment and/or repeated violations of probation, parole and/or supervised release.

       According to the PSR, the defendant has a total of five criminal history points and
a criminal history category of III. As noted in the defendant’s objections, he is asking
the Court to make a finding that the activities leading to the convictions set forth in
paragraph 128 were part of the relevant conduct on the instant offenses of conviction. If
so, no criminal history points would be assessed as to the sentences imposed for the cases
referenced in paragraph 128. In that case, he would have a total of three criminal history
points and a criminal history category of II.




       18 U.S.C. § 3553(a) SENTENCING FACTORS WHICH WARRANT
CONSIDERATION BY THE COURT




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          As the Court is well aware, the Federal Sentencing Guidelines are no longer
mandatory. Instead, they are just advisory. Although the guidelines continue to have
significance, they are among several factors to be weighed by the Court in its
determination of a punishment that is sufficient but not greater than necessary to satisfy
the purposes and goals set forth in 18 U.S.C. § 3553(a), Gall v. United States, 552 U.S.
38, 49-50 (2007).

          Under Gall, the advisory guideline range does not have “any particular weight.”
United States v. Irey, 612 F.3d 1160, 1217 (11th Cir. 2010) (en banc). The Court must
conduct its own evaluation of the sentencing factors listed in 18 U.S.C. § 3553(a), and
may “reject (after due consideration) the advice of the Guidelines.” Kimbrough, 552 U.S.
at 113.

          The purpose of the provision in § 3553(a) is to ensure the imposition of a sentence
that is sufficient, but not greater than necessary, to meet the goals of sentencing
established by Congress. This section of the statute directs courts to consider: (1) “the
nature and circumstances of the offense,” (2) “the history and characteristics of the
defendant,” (3) “the sentencing range established” by the guidelines; (4) “the need for
the sentence imposed to reflect the seriousness of the offense, and to deter the criminal
conduct,” (5) “the need to avoid unwarranted sentence disparities among defendants”;
and (6) the “need to provide restitution to any victim(s) of the offense.”




18 U.S.C. § 3553(a)(1): Nature and Circumstances of the Offense

       As noted in the defendant’s previously filed objections to his PSR, being a

leader in the Proud Boys organization is not the equivalent of being a leader and


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organizer of the events which led to the criminal offenses of which he was found guilty.

These two roles do not go hand in hand. There is zero evidence to suggest Tarrio

directed any participants to storm the U.S. Capitol building prior to or during the event.

Participating in a plan for the Proud Boys to protest on January 6 is not the same as

directing others on the ground to storm the Capitol by any means necessary. In fact,

Tarrio was not in contact with anyone during the event he is alleged to have led or

organized. Instead, as noted previously, many of the participants who were at the scene

of and participated in the insurrection wore microphones and used Walkie Talkies to

communicate with each other, not with him. Among these participants were Biggs and

Nordean, as noted in The Offense Conduct section of the PSR.


       Shortly before noon, Nordean and Biggs led the other men back to the west side

of the US Capitol. As they marched, Nordean and Biggs led the men onto a four-lane

road (First Street, NE and Constitution Avenue, NE) that was open to traffic. At

approximately 12:45pm, 15 minutes before the certification of the Electoral College

vote was scheduled to start, Nordean and his men marched back toward the US Capitol.

Biggs and Nordean tore down the fixed black metal fence that separated the crowd from

law enforcement, then these codefendants, along with Pezzola and others, advanced past

the trampled barrier into the west plaza of the Capitol grounds. Nordean, Biggs, Rehl

and Pezzola ignored the police officers’ directives, and members of the crowd began to

physically engage with law enforcement. While on the terrace, Biggs gestured back

down to the ground to encourage those still on the ground to join him. Biggs exited but

entered the US Capitol a second time through another entrance. Biggs took advantage



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of the crowd’s overwhelming numbers, and made his second entry of the building as

part of a tactical line of four Proud Boys immediately after the crowd overwhelmed

officers guarding the door. Biggs’ group pushed directly past those officers, with Biggs

brushing up against one. Once inside, Biggs and his men went to the Senate gallery.

One of the men with Biggs stole a flag from outside the Senate Chaplain's Office.


       Unlike Tarrio, who was a state and at least an hour away in Baltimore, Maryland,

during the insurrection, his codefendants, Biggs and Nordean, were on the ground,

wearing microphones and in constant communication with each other during the

rebellion and acts of violence, none of which Tarrio directed, ordered or even planned.

In fact, Tarrio was nowhere near the ground(s) of the U.S. Capitol to direct these other

participants’ actions. Instead, he was in another state and city, Baltimore, Maryland.

The Offense Conduct section of the PSR does not reference any action taken by Tarrio

just prior or during the chaos and invasion into the Capitol.


       Notably, in late-February 2021, When Tarrio sat down to be interviewed by CNN

reporter Sara Sidner, he told her that the men “should not have breached the Capitol

with violence.”(00:21). He firmly states on more than one occasion that he does not

believe the 2020 presidential election was stolen. (04:36) When addressing his fellow

Proud Boy who used a police officer’s shield to break a window to gain access to the

Capitol building, he said the following: “I condemn the actions, I don’t think he should

have done that. I think it was completely wrong.” He described the other Proud Boys

who entered the Capitol as trespassers whom he believed got caught up with the entire

crowd. He further remarked, “They made a poor decision to go in there.” (5:15) He


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used the word “unequivocally” when reiterating it was “wrong” for his fellow Proud

Boy to have broken the window to breach the Capitol. He said he does not blame the

cops for doing their job, and again says it was a mistake for people to enter the Capitol.

All these comments made shortly after the event show he not only did not plan the

invasion of the Capitol, but are also indicative of someone who did not lead, organize

or manage the actions on January 6, despite having a leadership role within the Proud

Boys organization.


       The interview can be accessed via the following link:


       https://www.cnn.com/videos/politics/2021/02/26/proud-boys-leader-enrique-

tarrio-intv-capitol-riot-government-fear-people-sidner-dnt-ac360-vpx.cnn



18 U.S.C. § 3553(a)(1): History and Personal Characteristics of the Defendant



       Tarrio has been portrayed by the media as well as the government in a certain light

based on his association with the Proud Boys. The flooding of images of the Proud Boys

on news and other media outlets has unfairly created a distorted and mostly negative image

of the defendant.    The defendant hopes that after reviewing several character letters,

listening to people who speak on his behalf at his sentencing hearing, and reviewing the

points made in this memo that the Court will see another, more true side of him that is

much more positive and gentle than the persona created by the media and the government.




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                                    Family Background



       Henry Tarrio, age 39, was born and reared in Miami, Florida, in 1984. He was

reared mostly by his mother, but lived some of his teenage years with his father and/or his

now-deceased paternal grandparents.       When he was a teenager, he moved a few blocks

away from his father's home to his paternal grandparents' home to help his family after his

grandmother had become bedridden. He is close to both parents. The defendant calls his

mother several times per day, and his father several times weekly.

       The defendant's parents have no criminal record. As far as the family’s religious

beliefs, the defendant’s parents are Catholics, but practice Yoruba (Santeria religion with

West African roots). Tarrio was never the victim of any form of sexual, physical, or mental

abuse during his upbringing. Looking back on his childhood, he admitted to being a

“rebellious kid,” but did not give his parents too many problems. He recalled being 11

years old when he had his first interaction with the police. He built a "potato gun" and his

neighbors called the police. When the police arrived, they sat him in the back of the squad

car and drove him around the block in an attempt to scare him. He later got into trouble

with his father due to his police interaction. He also noted that although truancy was

considered normal behavior for kids his age, he loved school so he rarely failed to attend.

       The defendant has a large, close-knit family unit. The defendant and his family

frequently took road trips, went on cruises, and took annual ski trips. Although his

biological parents initially were not close after their divorce, they have maintained a very

amicable relationship for several years. In fact, his parents still take family trips and spend


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holidays together. The defendant’s mother and stepmother are extremely close/friends.

The defendant’s mother describes her son as a very good man, despite the media's portrayal

of him and the federal charges of which he was recently convicted. His mother remarked

the defendant never gave her any problems regarding drug use. She stated that when he

went out at night, she could go to sleep at night while he was out because she “knew he

would be fine.”

                                     Employment History



       The defendant’s employment history has varied in nature and demonstrates his

ability to adapt to a variety of situations. Despite not obtaining a college degree, he has

been able to earn an honest living in several different capacities. In 2011 and 2012, he was

a sales agent for a freight forwarding company, Inter Customs Logistics in Doral, Florida.

He earned $4,800 per month from this employment. In 2013, Tarrio began earning a living

by installing security cameras. After he served a period of imprisonment and was released

in September 2014, he worked at his second cousin’s car dealership, Auto Expo, Inc., in

Miami, for about six months. He has even done mechanic work with his grandfather; and

sold shirts/clothing online. Tarrio opened and operated Spie Security/Spie Surveillance

and Automation Technologies, 5730 NW 2nd Street, Miami, a security and camera

installation company. Although at one point he earned $100,000 annually, the company

eventually did not perform well after larger corporations such as Google and Nest began

offering similar security services at discounted prices.




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       In a character letter written by the owner of Sun Speed Transport, G. Pardo informed

that Tarrio installed GPS devices in his company’s trucks; and monitored the company’s

GPS system and night security from 2015 until he closed his business in 2019. According

to Mr. Pardo, there were no issues with the work of the defendant, who “was trusted with

the most delicate part of our business, security.” The owner of 57 Merchandise, LLC,

confirmed the defendant began working as a sales representative for her business when she

opened it in 2019. She noted the defendant has “great customer service skills.” Raunel

Cabrera, the warehouse manager of ICL in Miami, confirmed the defendant worked with

him for a few years. During that time, Tarrio proved to be a responsible coworker who

paid attention to detail. Mr. Cabrera further recalled the defendant was helpful, “genuinely

kind” to his coworkers, and “always ready for a new challenge.”

          History of Cooperation and Assisting Law Enforcement Agencies



       In 2014, a federal prosecutor, Vanessa Singh Johannes, noted during a court hearing
in which Tarrio was involved that he “cooperated with local and federal law enforcement,
to aid in the prosecution of those running other, separate criminal enterprises, ranging from
running marijuana grow houses in Miami to operating pharmaceutical fraud schemes.” The
prosecutor, an FBI agent and Tarrio’s lawyer at the time went into details regarding his
undercover work and said he had helped authorities prosecute more than a dozen people
in various cases involving drugs, gambling and human smuggling. Tarrio’s former
lawyer, Jeffrey Feiler, described him as a “prolific” cooperator and pointed out Tarrio
worked in an undercover capacity in conjunction with numerous investigations.         These
investigations varied in nature in that one involved the sale of anabolic steroids, another
regarding “wholesale prescription narcotics” and a third investigation targeting
human smuggling.       According to Mr. Feiler, his former client assisted the police in


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discovering three marijuana grow houses. Tarrio risked his life to assist law enforcement
officers on many occasions. An FBI agent who attended Tarrio’s hearing in 2014 described
him as a “key component” in drug investigations conducted by local law enforcement
agencies. The District Court in the Southern District of Florida concluded the defendant
had “provided substantial assistance in the investigation and prosecution of other persons
involved in criminal conduct.” Although the defendant did receive a sentencing reduction
as a result of that cooperation, these prior yet significant efforts to assist law enforcement
agencies should not go unnoticed by this Court and speak to the character of Mr. Tarrio.

                                Volunteer and Charitable Work


       Hurricane Harvey was a devastating Category 4 hurricane that made landfall on

Texas and Louisiana in August 2017, causing catastrophic flooding and more than 100

deaths. The defendant traveled on a dinghy (a small, motorized boat) to the impacted areas

to reach and help people get out of the flooded areas where they were stranded. Tarrio

also provided them with telephones to use to contact their loved ones and find additional

assistance and support.




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The defendant has also participated in many other community outreach events such as Toys

for Tots. In 2019, the defendant helped organize and participated in a drive to collect

donations for gift cards to be used to buy food and items at department stores for

disadvantaged youth. The event took place on December 17, 2019, at Duffy’s Tavern, a

popular family restaurant in Miami, and was to benefit a youth center of the Miami Bridge

Family Services, Inc. Lavern Spicer of Curley’s House Food Bank in Miami-Dade County

has   also   written   a    letter   of   support   on   behalf    of   the   defendant.




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      In 2000, Tarrio and some other Proud Boys members joined in a peaceful protest in

support of the Jewish community in South Florida.      An attendee observing the event

noticed Tarrio and Proud Boys actually offered protection to the elderly attendees, many

of whom were survivors of the Holocaust.

      During a March 2013, deposition of George Meza, an IT administrator and Rabbi

who teaches theology (Judaism) courses online, testified that he never saw the Proud Boys

instigating anything. In places where Conservatives were cornered while leaving rallies,

the Proud Boys were there to come to their defense. He further testified the Proud Boys




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never engaged in such activities such as chasing people down who were rioting.




        Family and Community Support & Excerpts from Character Letters

       Despite his arrest and the recent guilty verdict on several counts of the Indictment,
the defendant has received an outpour of support from the community and his family, many
of whom are law enforcement officers. The defendant’s cousin, Melinda Perez-Tavarez,
who has been employed by the City of Miami Police Department for 16 years, states she
can truly attest to the defendant’s character “that upholds our values and represent(s)
everything this country was founded on.” She holds the greatest respect for her cousin,
who sincerely loves their family and the United States. Melissa Rodriguez, a longtime
neighbor of Tarrio, advised he has never been a nuisance in any way, shape or form, and
described him as a cheerful and respectful individual. Laura Hosman, a family friend of
the defendant’s mother that works in the counseling field, described the defendant as a man
with “great family values.” She noted he has been an “excellent source of guidance” and
has relied on him for moral support. Ms. Hosman asks the Court to be lenient toward
Tarrio when imposing his sentence.




                      Model Behavior since arrest in Instant Case

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       The defendant was arrested on March 8, 2022, and has been in continuous custody
on these federal charges since that date. As noted in the PSR, Tarrio has remained
incarcerated for about one and one-half years and has had no behavioral problems since
being in detention.


            Subject to More Severe and/or Cruel Punishment while in Detention


       The defendant, who never previously struggled with any mental health issues, began
receiving counseling from the mental health department at the county jail facility in
Alexandria, Virginia, where he is being detained.     Because of the nature of his federal
charges and the county jail's policy, he has been "locked down" in his jail cell 22/24 hours
per day. This isolation has impacted his mental health, as confirmed by the defendant's
mother, who visits him confirmed this information. She has noticed he has seemed very
anxious during recent jail visits or telephone conversations.   His mother travels to visit
him twice monthly at the facility. In March 2023, he began receiving counseling at the jail
to help him cope with this situation.    The nature of the defendant’s incarceration and
enhanced restrictions are factors that should warrant consideration by the Court.


                                           Conclusion



       The defendant hopes the Court denies the government’s objections to the PSR as to

his criminal history points and category and the terrorism enhancement; and that it grants

the defendant’s previously filed objections to the PSR , to avoid an unnecessarily and

unfairly severe punishment for his specific actions in the events that took place on January

6th.   The defendant further urges the Court to consider this memorandum to see another

side of him - one that is benevolent, cooperative with law enforcement, useful in the


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community, hardworking and with a tight-knit family unit and community support. Tarrio

urges the Court to give sufficient weight to and consider some of these 3553(a) sentencing

factors that are deserving of a downward variance from his guideline imprisonment range.



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                                         Respectfully submitted,

                                         /s/ Nayib Hassan

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